                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


United States of America

           v.                             Case No. 23-cr-112-01-PB-AJ

Charles Glenn




                                  ORDER

      The assented to motion to reschedule jury trial (document no. 15)

filed by defendant is granted; Final Pretrial Conference is rescheduled

to September 16, 2024 at 3:00 PM.    Trial is continued to the two-week

period beginning October 1, 2024, 9:30 AM.

      The court finds that the ends of justice served by granting a

continuance outweigh the best interest of the public and the defendant

in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the reasons set

forth in the motion.



      SO ORDERED.
                                          By the Court,


                                            /s/Paul Barbadoro
                                          ____________________________
                                          Paul Barbadoro
                                          United States District Judge

Date: May 31, 2024

cc:   U.S. Marshal
      U.S. Probation
